   Case 2:14-cv-00601-MHT-JTA Document 3266 Filed 06/07/21 Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

      MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,              )
                                    )
      Plaintiffs,                   )
                                    )      CIVIL ACTION NO.
      v.                            )       2:14cv601-MHT
                                    )            (WO)
JEFFERSON S. DUNN, in his           )
official capacity as                )
Commissioner of                     )
the Alabama Department of           )
Corrections, et al.,                )
                                    )
      Defendants.                   )

                                 ORDER

    On Friday afternoon, during the discussion of the

legal standard applicable to these hearings, the court

misspoke when it said that the issue was “undecided.”

June 4, 2021, R.D. Tr. at 194.           The court meant that the

question of which party bears the burden of proof was not

resolved by the court’s December 2020 opinion.                           See

Opinion and Order on a Process for Finalizing the Phase

2A Remedial Orders (Doc. 3078).              The December opinion,

however, did expressly resolve the question of whether

the “current and ongoing violation” standard of 18 U.S.C.
      Case 2:14-cv-00601-MHT-JTA Document 3266 Filed 06/07/21 Page 2 of 2




§ 3626(b)(3)--the provision of the Prison Litigation

Reform      Act   that    governs     proceedings       on   a    motion    to

terminate--applies          to   these    hearings.          As   the   court

explained in that opinion, “In the absence of a motion

to terminate, there is no statutory requirement that the

court find a ‘current and ongoing violation’ of federal

law before entering” the proposed relief at issue in

these proceedings.           Id. at 24 (citing Thomas v. Bryant,

614 F.3d 1288, 1319-20 (11th Cir. 2010)).                         The court

instructed the parties to provide evidence of current

conditions in ADOC facilities to ensure that the proposed

relief is necessary in light of those conditions, but it

squarely held in the December opinion that the “current

and     ongoing     violation”      standard     does    not      apply,    as

required by the text of the PLRA and Eleventh Circuit

precedent.        See id.; see also Opinion and Order Regarding

the “Current and Ongoing Violation” Issue (Doc. 2954).

       DONE, this the 7th day of June, 2021.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE



                                      2
